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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


             UNITED STATES OF AMERICA                :
                                                     :
                                                     :
                   v.                                :    CRIMINAL ACTION NO.
                                                     :    1:10-CR-00086-26-RWS
             REMBERTO ARGUETA,                       :
                                                     :
                          Defendant.                 :



                                                 ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation [716] of Magistrate Judge E. Clayton Scofield, III.

             Defendant has filed Objections [718] to the Report and Recommendation in

             which he objects to the Magistrate Judge’s failure to address two issues.

                   First, Defendant asserts that “the agents who obtained Defendant’s 2008

             statement knew that the Defendant was represented by counsel but failed to

             notify said counsel about the interview before it took place.” Objs. [718] at 1.

             However, Defendant was represented by counsel in a separate state court

             prosecution. “[I]f an accused is properly advised of the right to counsel under

             Miranda and non-coercively, knowingly and intelligently waives that right,




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             representation by counsel on an unrelated matter will not taint that waiver and

             the statements are admissible.” Gore v. Sec’y for Dept. of Corrections, 492

             F.3d 1273, 1301 (11th Cir. 2007) (citing McNeil v. Wisconsin, 501 U.S. 171,

             177 (1991)). Second, Defendant asserts “that the agents who obtained

             Defendant’s 2010 statement knew that the Defendant was indicted on the

             instant offense but failed to disclose said information to the Defendant before

             the interview took place.” Objs. [718] at 1-2. However, “a suspect’s awareness

             of all the possible subjects of questioning in advance of interrogation is not

             relevant to determining whether the suspect voluntarily, knowingly, and

             intelligently waived his Fifth Amendment privilege.” Colo. v. Spring, 479 U.S.

             564, 577 (1987). Thus, the two issues that Defendant asserts that the Magistrate

             Judge failed to address do not affect the validity of the conclusion reached.

                   Having reviewed the Report and Recommendation, it is received with

             approval and adopted as the Opinion and Order of this Court. Accordingly,

             Defendant’s Motion to Suppress [378] is DENIED.

                    SO ORDERED this 5th           day of September, 2012.

                                                     ________________________________
                                                     RICHARD W. STORY
                                                     United States District Judge

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